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                              No. 22-10074-F

                                    In the
                  United States Court of Appeals
                     for the Eleventh Circuit

                     UNITED STATES OF AMERICA,
                                                 Plaintiff-Appellee,

                                       v.

                            JASON E. MADOW,
                                                 Defendant-Appellant


             ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF FLORIDA
                        NO. 6:06-CR-22-ACC-LRH-2


              UNITED STATES’ MOTION TO DISMISS


                                            ROGER B. HANDBERG
                                            United States Attorney

                                            DAVID P. RHODES
                                            Assistant United States Attorney
                                            Chief, Appellate Division

                                            ROBERTA JOSEPHINA BODNAR
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 March 9, 2022                              (352) 547-3600

 Exhibit A
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                            United States v. Jason Madow
                                  No. 22-10074-F

                        Certificate of Interested Persons
                      and Corporate Disclosure Statement

         The following persons and entity have an interest in the outcome of this

 case:

         1.    Albritton, A. Brian, former United States Attorney;

         2.    Andrejko, Nicole M., Assistant United States Attorney;

         3.    Baker, Hon. David A., United States Magistrate Judge;

         4.    Bodnar, Roberta Josephina, Assistant United States Attorney;

         5.    Conway, Hon. Anne C., United States District Judge;

         6.    Eckhart, Daniel W., former Assistant United States Attorney;

         7.    Gable, Karen L., former Assistant United States Attorney;

         8.    Handberg, Roger B., United States Attorney;

         9.    Hoffman, Hon, Leslie R., United States Magistrate Judge;

         10.   Hoppmann, Karin, former Acting United States Attorney;

         11.   Jewell, Jillian M., Assistant United States Attorney;

         12.   JP Morgan Chase Bank (ticker symbol: JPM);

         13.   Klindt, Hon. James R., United States Magistrate Judge (interested
               solely in his capacity as former United States Attorney for the
               Middle District of Florida);

         14.   Lopez, Maria Chapa, former United States Attorney;

         15.   Madow, Jason E., defendant-appellant;

                                      C-1 of 2
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                          United States v. Jason Madow
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       16.   O’Neill, Robert E., former United States Attorney;

       17.   Perez, Paul I., former United States Attorney;

       18.   Rhodes, David P., Assistant United States Attorney,
             Chief, Appellate Division;

       19.   Roderman, Barry G., Esq.;

       20.   Rosenbaum, Richard L., Esq.;

       21.   Simonsen, Julie, Assistant United States Attorney; and

       22.   Willing, Patricia A., former Assistant United States Attorney.




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                In the United States Court of Appeals
                       for the Eleventh Circuit

 UNITED STATES OF AMERICA,
      Plaintiff-Appellee,

 v.                                               No. 22-10074-F

 JASON E. MADOW,
      Defendant-Appellant


                      United States’ Motion to Dismiss

       The United States moves to dismiss this appeal, in which Jason E.

 Madow challenges a district court order granting the United States’ application

 for a writ of garnishment to Homeowner’s Advantage to enforce Madow’s

 outstanding restitution judgment and denying without prejudice Madow’s

 various procedural motions. This appeal is moot because Madow no longer is

 employed by Homeowner’s Advantage, so Homeowner’s Advantage no longer

 possesses property that may be used to satisfy Madow’s judgment.

                            I.   Course of Proceedings

       In 2006, Madow pleaded guilty under a plea agreement to conspiracy to

 commit wire fraud, in violation of 18 U.S.C. § 371. Docs. 12, 26. The district

 court sentenced him to serve 41 months’ imprisonment followed by 3 years’

 supervised release and ordered him to pay $34,744,511 in restitution. Docs. 42,
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 47. In the judgment, the court directed Madow, on release from custody, to

 make payments of $100 per month “until such time as the Court is notified by

 [Madow], the victim, or the government that there has been a material change

 in [Madow’s] ability to pay.” Doc. 47 at 5.

       Madow subsequently challenged the restitution portion of the judgment,

 without success. See, e.g., Docs. 67–69, 75, 82, 85–86, 88–89, 94. After his term

 of supervised release expired, he stopped making monthly payments. See Docs.

 103, 106.

       In November 2020, after learning that Madow was earning

 approximately $4,375 per month in wages from Homeowner’s Advantage and

 that, therefore, his ability to pay restitution had materially changed, the United

 States requested that the district court issue a writ of wage garnishment under

 28 U.S.C. § 3205 to Homeowner’s Advantage, directing it to pay to the United

 States either 25 percent of Madow’s weekly income or the amount by which

 his weekly income exceeded the federal minimum wage.1 Doc. 96. Madow

 filed a succession of procedural motions, including requests for the

 appointment of counsel, a hearing, and transfer to another district, along with

 a proposal to pay nearly seven years’ worth of delinquent payments and a


       By November 2020, the balance of the restitution obligation, including
       1

 more than $25 million in accrued interest, was $59,955,386.71. Doc. 96 at 1–2;
 Doc. 125 at 3.

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 motion to quash. See, e.g., Docs. 98, 100, 105–106.

       A United States Magistrate Judge granted the application for the writ,

 Doc. 114, and Madow appealed, Doc. 118. This Court dismissed the appeal

 sua sponte, explaining that writs of garnishment are not final, appealable

 orders until the district court enters an order directing the disposition of

 property obtained under the writ. Doc. 122 (citing Stansell v. Revolutionary

 Armed Forces of Colombia, 771 F.3d 713, 743 n.25 (11th Cir. 2014)).

       Following remand, the district court overruled Madow’s various

 objections and granted the United States’ application for a writ of garnishment.

 Doc. 125; see Doc. 126. This is Madow’s appeal from that order. See Docs.

 128–29, docket entry following 130.

       Homeowner’s Advantage, the garnishee, subsequently filed its answer,

 stating that Madow was no longer employed by Homeowner’s Advantage and

 it no longer possessed any funds owed to Madow. Doc. 133. In response, the

 United States moved in the district court to terminate the writ of garnishment.

 Doc. 134. Noting that Madow’s appeal was premature and that the order

 granting the writ was non-final, the district court ruled, nonetheless, that

 Madow’s notice of appeal had deprived it of jurisdiction. Doc. 135.

 Accordingly, the court directed the United States to notify this Court that the

 issue at the center of the dispute over the writ of garnishment is moot and that


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 it seeks to terminate the writ. Doc. 135.

                        II.   Memorandum of Law

       As in Madow’s previous appeal, Doc. 122, this Court lacks jurisdiction

 because the order Madow appeals is not final and appealable, see Stansell v.

 Revolutionary Armed Forces of Colombia, 771 F.3d 713, 743, n. 25 (11th Cir.

 2014). Moreover, the appeal is moot because Homeowner’s Advantage does

 not possess any funds owed to Madow.

       Article III, Section 2 of the United States Constitution limits federal

 court jurisdiction to actual cases and controversies. See Spencer v. Kemna, 523

 U.S. 1, 7 (1998). To satisfy the case-or-controversy requirement, a party must,

 at all stages of the litigation, demonstrate an actual injury which is likely to be

 redressed by a favorable judicial decision. Id. Generally, a case becomes moot

 when issues are no longer “live” or the parties “lack a legally cognizable

 interest in the outcome” of the case. Murphy v. Hunt, 455 U.S. 478, 481 (1982).

       Accordingly, “‘[i]f events that occur subsequent to the filing of a lawsuit

 or an appeal deprive the court of the ability to give the plaintiff or appellant

 meaningful relief, then the case is moot and must be dismissed.’” Soliman v.

 United States, 296 F.3d 1237, 1242 (11th Cir. 2002) (quoting Al Najjar v.

 Ashcroft, 273 F.3d 1330, 1336 (11th Cir. 2001)). “[D]ismissal is required

 because mootness is jurisdictional.” Id.

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         Because Homeowner’s Advantage no longer employs Madow and does

 not owe him any wages, there is no property that may be obtained under the

 writ of garnishment. The appeal, therefore, is moot. See Soliman, 296 F.3d at

 1242.

                                    Conclusion

         Therefore, this Court should dismiss this appeal.



                                              Respectfully submitted,

                                              ROGER B. HANDBERG
                                              United States Attorney

                                              DAVID P. RHODES
                                              Assistant United States Attorney
                                              Chief, Appellate Division

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          Certificate of Compliance with Type-Volume Limitation

       This motion, which contains 866 countable words, complies with Fed.

 R. App. P. 27(d)(2)(A) and Fed. R. App. P. 32(a)(5), (6).
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                                          Certificate of Service

            I certify that a copy of this motion and the notice of electronic filing was

  sent by United States mail on March 9, 2022, to:

            JASON MADOW
            10695 Weir Way
            Alpharetta, GA 30022

            Defendant-appellant, pro se

                                                       s/ Roberta Josephina Bodnar
                                                       ROBERTA JOSEPHINA BODNAR
                                                       Assistant United States Attorney




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